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 4   Attorneys for Defendant
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 9                      IN THE DISTRICT COURT OF THE UNITED STATES

10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                     SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                          No. 2:08-CR-00064

14                   Plaintiff,                         STIPULATION AND ORDER TO
                                                        CONTINUE
15   vs.                                                STATUS CONFERENCE

16   CHI KEUNG HUI,

17                   Defendant.

18                                          /

19         It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from September 1,

21   2011 to October 13, 2011 at 9:00 a.m. It is further stipulated that there is good cause

22   for said continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules, to review potential immigration consequences of a possible negotiated

24   disposition, and for defense preparation and continuity of counsel pursuant to 18

25   U.S.C.§ 3161 (h)(7)(A) and (B)(iv).

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 1   Dated: August 30, 2011

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 3                                                     /s/ Ted W. Cassman
                                               TED W. CASSMAN,
 4                                             Attorney for Defendant
                                               CHI KEUNG HUI
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 6
     Dated: August 30, 2011
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                                                         /s/ Michael Beckwith
 9                                             MICHAEL BECKWITH,
                                               Assistant United States Attorney
10

11                                            ORDER

12     For the reasons stated above, the status conference in this matter, currently

13   September 1, 2011, is continued to October 12, 2011 at 9:00 a.m.; and the time

14   beginning, September 1, 2011, and extending through October 12, 2011, is excluded

15   from the calculation of time under the Speedy Trial Act for effective defense preparation

16   and plea negotiations. The Court finds that interests of justice served by granting this

17   continuance outweigh the best interests of the public and the defendants in a speedy

18   trial. 18 U.S.C.§ 3161 (h)(7)(A) and (B)(iv).

19
      Dated: September 1, 2011
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                                               MORRISON C. ENGLAND, JR.
22                                             UNITED STATES DISTRICT JUDGE

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